         Case 20-71714-lrc
          AFFIDAVIT        Doc 3 Filed
                     TO ACCOMPANY      11/13/20 FILED
                                    PETITION      Entered
                                                       PRO11/13/20 15:33:39TYPE
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                                  Document      Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

         VIk 9.An \41,56,     tomAY,S4 tv\             CASE NO          20-71714
          NAME OF DEBTOR
          ke-k-ulA        La4A9-                       TELEPHONE NO.
          ADDRESS
   D                c4-        O2
                             31;)
          CITY, STATE, ZIP

             PRO SE AFFIDAVIT TO ACCOMPANY PETITION FOR ORDER OF RELIEF

        I, the undersigned, being under oath and declare under penalty of perjury, that I do not have an
attorney to represent me in this case, that I represent myself in this case, that I am the petitioner in the
above-stated bankruptcy case under Title 11 of the United States Code, and that the answers given below
are true according to the best of my knowledge, information and belief.

          Did anyone assist you in any way in the preparation of this petition?
                 ANSWER: YES D

          If someone did assist you, list their name and address:


          NAME
                                                                                                      n3

          ADDRESS

          CITY, STATE, ZIP CODE                                        TELEPHONE NUMBER

          Did the person assisting you charge or collect any money for helping you in any way?
                 ANSWER: YES 0             NO 0 IF "YES", HOW MUCH ($                     )

          Have you filed a bankruptcy case in the past?
                ANSWER: YES 0                   Not0

          If you have filed a bankruptcy case in the past, list the case number, chapter and judge:
                      N


                                                                       PRO                NER

Subscribed and sworn to before me on the       \41,\day of NWQ.,tiv\ beV ,2° 7-0


          NOTARY PUBLIC




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